                       United States Court of Appeals
                                        For the Seventh Circuit
                                        Chicago, Illinois 60604

                                           December 20, 2023

    By the Court:

    No. 21-3221

    UNITED STATES OF AMERICA,                               Appeal from the United States District
         Plaintiff-Appellee,                                Court for the Eastern District of
                                                            Wisconsin.
           v.
                                                            No. 2:17-cr-00175-MYS-9
    ROYEL PAGE ,
        Defendant-Appellant.                                Michael Y. Scudder,
                                                            Circuit Judge.*

                                               ORDER

          The court has voted sua sponte to rehear this appeal en banc. Accordingly, the
    panel opinion of August 4, 2023, is vacated, and the court will set an argument date
    by separate order.
            The court has also decided that supplemental briefs would assist in its
    consideration of the case. The parties shall each file supplemental briefs of up to 7,000
    words addressing the following question, in addition to any other points they wish to
    raise: Whether the trial judge plainly erred in failing to sua sponte provide a buyer-seller
    instruction. In answering this question, counsel should address whether the record
    reflects presentation of a buyer-seller theory and the role of the party-presentation
    principle in the district court. The parties’ briefs should address how United States v.
    Olano, 507 U.S. 725 (1993), United States v. Sineneng-Smith, 140 S. Ct. 1575 (2020), Greer v.
    United States, 141 S. Ct. 2090 (2021), United States v. Douglas, 818 F.2d 1317 (7th Cir. 1987),
    United States v. Thomas, 150 F.3d 743 (7th Cir. 1998), United States v. Gee, 226 F.3d 885 (7th
    Cir. 2000), and United States v. Cruse, 805 F.3d 795 (7th Cir. 2015), affect these questions.
           Thirty (30) copies of the supplemental briefs must be submitted to the Clerk’s
    Office by January 19, 2024. Counsel must also re-submit to the Clerk’s Office thirty (30)
    copies of all briefs, appendices, supplemental authority, and any other materials filed for
    the original argument by that date.

*Of the United States Court of Appeals for the Seventh Circuit, sitting by designation. Judge Scudder did not
participate in the court’s vote on rehearing this appeal en banc.
